                                                                                         FILED
                                                                                         CLERK
                             UNITED STATES DISTRICT COURT                     3/23/2023 3:35 pm
                             EASTERN DISTRICT OF NEW YORK
                                                                                U.S. DISTRICT COURT
                                                                           EASTERN DISTRICT OF NEW YORK
                                                                                LONG ISLAND OFFICE
 SECURITIES AND EXCHANGE COMMISSION,

                                   Plaintiff,
                                                          C.A. No. 21-02305 JMA-JMW
                           v.

 LISA ECKERT,

                                   Relief Defendant.



                                  FINAL JUDGMENT AS TO
                                 DEFENDANT LISA ECKERT

       The Securities and Exchange Commission having filed a Complaint and Relief Defendant

Lisa Eckert having entered a general appearance; consented to the Court’s jurisdiction over

Relief Defendant and the subject matter of this action; consented to entry of this Final Judgment;

waived findings of fact and conclusions of law; and waived any right to appeal from this Final

Judgment:

                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Relief Defendant is

liable for disgorgement of $46,600, representing his ill-gotten gains as a result of the conduct

alleged in the Complaint, together with prejudgment interest in the amount of $1,181.69.

However, Relief Defendant’s obligation to pay disgorgement and prejudgment interest shall be

deemed satisfied upon entry of this Final Judgment by the order of forfeiture entered against her

in People of the State of New York v. Quartararo, No. CR-0000238/2021 (Sup. Ct. NY).
                                                 II.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein.

                                                 III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

allegations in the complaint are true and admitted by Relief Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Relief Defendant

under this Final Judgment or any other judgment, order, consent order, decree or settlement

agreement entered in connection with this proceeding, is a debt for the violation by Relief

Defendant of the federal securities laws or any regulation or order issued under such laws, as set

forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                                 III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.



Dated: March 23, 2023
       Central Islip, New York
                                              ___/s/ (JMA)_________________________
                                              Hon. Joan M. Azrack
                                              UNITED STATES DISTRICT JUDGE




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